              Case 3:20-cv-08570-JD Document 48-1 Filed 02/19/21 Page 1 of 6



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     No. 5:20-cv08570-LHK                             STIPULATION RE: ADMINISTRATIVE MOTION TO
                                                                                  RELATE CASES
                 Case 3:20-cv-08570-JD Document 48-1 Filed 02/19/21 Page 2 of 6



                                UNITED STATES DISTRICT COURT
 1
                             NORTHERN DISTRICT OF CALIFORNIA
 2
                                         SAN JOSE DIVISION
 3
      MAXIMILIAN KLEIN and SARAH GRABERT,
 4   individually and on behalf of all others similarly   Case No. 5:20-cv-08570-LHK
     situated,                                            (Consolidated with Nos. 4:20-cv-08817,
 5
                                  Plaintiffs,             4:20-cv-08815, 3:21-cv-00337, 3:21-cv-
 6                                                        00336, 3:20-cv-09217, 4:20-cv-08721,
            v.                                            3:20-cv-09130)
 7
     FACEBOOK, INC., a Delaware corporation,              CIVIL LOCAL RULE 7-12
 8
                                                          STIPULATION REGARDING
                                  Defendant.              DEFENDANT’S UNOPPOSED
 9
                                                          MOTION FOR ADMINISTRATIVE
10                                                        RELIEF TO CONSIDER WHETHER
                                                          CASES SHOULD BE RELATED
11                                                        PURSUANT TO CIVIL L.R. 3-12
12
                                                          Judge: Hon. Lucy H. Koh
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                                                                                  RELATE CASES
              Case 3:20-cv-08570-JD Document 48-1 Filed 02/19/21 Page 3 of 6




 1          Pursuant to Civil Local Rule 7-12, defendant Facebook, Inc. and plaintiffs Maximilian

 2   Klein, Sarah Grabert, and Joe Kovacevich, by and through their respective counsel, hereby

 3   stipulate and agree that Kovacevich v. Facebook, Inc., No. 3:21-cv-01117 (“Kovacevich”) should

 4   be related to the above-captioned action under Civil Local Rule 3-12.

 5

 6   Dated: February 19, 2021                           Respectfully submitted,

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              Case 3:20-cv-08570-JD Document 48-1 Filed 02/19/21 Page 4 of 6




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                                                                            RELATE CASES
              Case 3:20-cv-08570-JD Document 48-1 Filed 02/19/21 Page 5 of 6




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                                                                            RELATE CASES
               Case 3:20-cv-08570-JD Document 48-1 Filed 02/19/21 Page 6 of 6




 1                                   SIGNATURE ATTESTATION

 2          I am the ECF User whose identification and password are being used to file the

 3   foregoing. Pursuant to Civil Local Rule 5-1(i), I hereby attest that the other signatories have

 4   concurred in this filing.

 5
      Dated: February 19, 2021                          By:    /s/ Sonal N. Mehta
 6                                                              Sonal N. Mehta
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     No. 5:20-cv-08570-LHK                              STIPULATION RE: ADMINISTRATIVE MOTION TO
                                                                                    RELATE CASES
